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    ITEM 0-13, April 1998      (Additional Remarks on Reverse)
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                                      REGINAlLD LUSTER
                                 PROFESSIONAL ASSOCIATION
                                      A1;'TORNEY AT LAW
Reginald Luster, Esquire                                                    1751 UNIVERSITY BOULEVARD SOUTH
                                                                                 ')A5NV1ll1!,   FLORIDA 32216
                                                  January 9,1012              '1_ f(,;.;      T: (904) 725-6655
                                                                              -7              F: (904)72S~658
                                                                                            www.rIusterlaw.com


                                               ~!~ 5'fo./ 1~ftJ3
       Mr. Richard W. McLaughlin
       7452 Cliff Cottage Drive
       Jacksonville.. Florida 32244                                 /.
       Re:     Discrimination: Race

      Dear Mr. McLaughJin:                       .~              (leg.~
                                                                                       . .: V
       This letter follows our meeting of January 9~ 2012. I advised yo' that I do not recommend
       that you file a Charge of Discrimination on your current concerns in that y'ou advised that
                                                                                                             L~'
                                                                                                             W-~
                                                                                                                   \)
      were are no problems with your supervisor or co-employees. -Please be advised that you may
      have a right, ifyou so desire, to file a charge of discrimination, complaint or lawsuit against
      persons or entities in connection with your employment problem. Such a charge, complaint
      or lawsuit must be filed within a certain time period or it wi"I1 be forever barred. Ifyou feel
      you have been discriminated against. then you mY§t file a charge of discrimination with the
      Equal Employment Oppo~nity Commission ("EEOC within 300. days of the
                                                                    U
                                                                        )

      discriminatory act. You may write the EEOC at: U.S. Equal- Eiilployn:tent Opportunity,
      Miami DistrictOffice~ OneBiscayne Tower:t2 South Tower Biscayne Boulevard, Suite 2700,
      Mimni, Florida 33131. Alternatively. you may telephone the EEOC at (800) 669.4000. You
      may also contact the Jacksonville Human Rights Commission at 111 W. Duval. Street,
      Jacksonville, Florida 32202. The telephone number for that office is (904) 630-4911.

      AdditionaJJy!, if you feel that your automobile is being Cbugged' or contains a 'tracking
      devise" contact the Spy Shop at 10513 Atlantic Boulevar~ Jacksonville, Florida 32225.
      Their pflone number is 904-996-8385. They should be able to assist you.       -

      In addition to employment discrimination, I also practice in the areas ofpersonal injUly law,
      wrongful death law and insurance law in Federal and State courts. If I could be of service
      to you in the future, please do not hesitate to contact me.

      Very Tmly Yours,                                       f)ffJJ(fJ
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     2 story model.




Sale                                                                                       .,
Price
238,000
2,264 Heated Square Feet                                New Gutters
4 Bedroomsl2.5Baths                                     2-car Garage
20X20 Family Room                                       Kitchen Appliances
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Master Bath has Marble Tub                              Garden Tub separate Shower
Opcn Patio                                              Like New, Build 2001
This property is locatcd within minutes of shopping, post office, golf course, 1-295 and schools.
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                         National EEO Investigative Services Office

~       UNITED STATES
Ifiii POSTIJL SERVICE
                               UNITED STATES POSTAL SERVICE
                              EQUAL EMPLOYMENT OPPORTUNITY
                                     IN THE MATTER OF:


RICHAD W. MCLAUGHLIN
7452 Cliff Cottage Drive                                 Delivery Confirmation Complainant:
Jacksonville FL 32244-4450                                      0312 1430000265153158
Complainant,

        v.
                                                         Agency Case Number: 1G-322-0019-13
PATRICK R. DONAHOE
Postmaster General                                       Date Formal Filed: June 13, 2013
United States Postal Service
Southern Area
Agency.


                           DISMISSAL OF FORMAL EEO COMPLAINT

The agency acknowledges the receipt of the formal complaint of discrimination referenced
above. This is the Postal Service's final decision on the above-cited discrimination complaint.

Specific Issue(s): You allege discrimination based on Race (African American) and Retaliation
(Prior EEO Activity) when: 1

     1. Since April 26, 2013 you have been followed and harassed by employees from the NDC
        facility; and
     2. On an unspecified date your personal vehicle vandalized.

Chronology

You were a Mail Handler at the agency's Jacksonville NDC facility at the time of the alleged
discriminatory action. The record reflects that you requested pre-complaint processing on May 7,
2013, and received Notice of Right to File Individual Complaint (PS Form 2579-A) on June 11,
2013. Subsequently, on June 13, 2013, you filed a formal complaint of discrimination with the
agency.

1 It is also noted in your formal complaint, you provided information that predates the 45-day timeframe
preceding your EEO contact date on the instant case. Under 29 C.F.R. 1615.105(a)(1) an aggrieved
person must initiate contact with a counselor within 45 days of the date of the matter alleged to be
discriminatory. EEOC Regulations found at 29 C.F.R. 1614.107(a)(2), state that prior to a request for a
hearing in a case, the agency shall dismiss an entire complaint that fails to comply with the applicable
time limits contained in 1614.105. Therefore only those incidents occurring on or after March 23, 2013
are considered timely. Please note that 45 days prior to the date of initial EEO contact (May 7, 2013) is
March 23, 2013. Further, records indicate that you have engaged in prior EEO activity and thus have
established your knowledge of the EEO process and the timeframes involved in raising a timely
complaint.



P.o. Box 21979
Tampa, FL 33622·1979
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Analysis and Conclusion

    1. Since April 26, 2013 you have been followed and harassed by employees from the NDC
       facility.

29 C.F.R. §1614.107(a) states that prior to a request for a hearing in a case, the agency shall
dismiss an entire complaint that fails to state a claim under 29 C.F.R. §1614.103 or 29 C.F.R.
§1614.106(a). The regulations provide that an agency may not accept a complaint from a
complainant who is not aggrieved. The Commission's federal sector case precedent has long
defined an "aggrieved employee" as one who suffers a present harm or loss with respect to a
term, condition, or privilege of employment for which there is a remedy. Diaz v. Department of
the Air Force, EEOC Request No. 05931049 (April 21, 1994).

Generally, to be aggrieved, you must demonstrate that you suffered an injury and that the
agency's allegedly unlawful conduct caused that injury. Additionally, you must identify a causal
connection between the challenged conduct and the injury and must show that there is a
substantial likelihood that the relief requested will redress the injury which you allegedly have
suffered. Stated another way, unless you have suffered a direct and personal deprivation at the
hands of the agency, you cannot properly be considered a "person aggrieved" under the
Commission's regulations and thus you are without standing to file a charge. The central issue is
whether you can demonstrate the incidence of an actual personal loss or harm and you would
personally benefit in a tangible way from a remedy available through the EEO complaint process.

Under EEO law and case precedent, not every work-related issue involves a term, condition, or
privilege of employment. For example, the Commission has repeatedly found that claims
involving a few isolated incidents of alleged discrimination usually are not sufficient to state a
claim individually or collectively as a harassment claim. See Phillips v. Department of Veterans
Affairs, EEOC Request No. 05960030 (July 12, 1996) and Banks v. Health and Human Services,
EEOC Request No. 05940481 (February 16, 1995).

In the instant complaint you alleged you were harassed when since April 26, 2013 you have been
followed by employees at the NDC. You go on to state you are followed to and from work and
sometime to places outside of work, Le. the mall, school and different cities. You further state
you believe the harassment is a result of your freedom of speech. However you never state that
you suffered any personal loss related to a term, condition or privilege of employment, nor do
you indicate that you received or were issued any corrective or adverse action as a result of
the alleged incidents.

The allegation lacks the specificity required by 29 C.F.R. §1614.106 (c). The Commission has
long ruled that vague assertions of being harassed and/or intimidated fail to state an actionable
claim. See Bejar v. Department of Veterans Affairs, EEOC Appeal No. 0120080722 (February
12,2008), the Office of Federal Operations stated, "We find that many of Complainant's claims
are vague and speculative." See also, Owens v. Social Security Administration, EEOC Appeal
No. 01A63022 (August 24, 2006) ("Complainant further makes vague allegations that CW
threatened her, but does not identify any specific incidents or the nature of such threats.").
The Commission has also ruled that such vague assertions about being harassed and/or
intimidated, fail to state an actionable claim. See Downing v. U.S. Postal Service, EEOC
                                             -3-

Appeal No. 01A61850 (July 18, 2006) ("The Commission determines that complainant's vague
assertion that she was harassed and intimidated by M1 is not sufficiently severe or pervasive
to state a claim of harassment."), citing Cobb v. Department of the Treasury, EEOC Request
No. 0590077 (March 13, 1997). Accord, Lyles v. U.S. Postal Service, EEOC Appeal No.
01A44029 (January 14, 2005), (" ... Complainant's narrative statement is too vague to state an
actionable claim of harassment .... '')

Therefore, there is no persuasive evidence in the record that you were subjected to any
adverse employment action or denied any entitlement in relation to a term, condition or
privilege of employment as a result of the incident you raise in your complaint. The totality of
the circumstances and the actions complained of, even if true, are neither sufficiently severe nor
pervasive enough to create a discriminatory hostile or abusive working environment. See Harris,
supra; Burns v. U.S. Postal Service, Appeal No. 01A60420 (May 10, 2006) and Simpson v.
Department of Transportation, Appeal No. 01A53663 (May 2, 2006), both citing Cobb v.
Department of the Treasury, EEOC Request No. 05970077 (March 13, 1997). Although it may
be that you were unhappy with the actions of your Supervisor, it must be recognized that Title
VII and EEOC regulations are not intended to be used as a general civility code, but rather
forbid "only behavior so objectively offensive as to alter the conditions of the victim's
employment." See Oncale v. Sundowner Offshore Services., Inc., 523. U.S. 75, 81 (1998).
Accord, Vore v. Indiana Bell Telephone Company, 32 F.3d 1167 (7'h Cir. 1994) (noting that
Title VII does not create a right to work in a pleasant environment; merely one that is free from
discrimination. ).

With regards to your claim of retaliation, the Commission has stated that adverse actions need
not qualify as "ultimate employment actions" or materially affect the terms and conditions of
employment to constitute retaliation. Lindsey v. U. S. Postal Service, EEOC Request No.
05980410 (November 4,1999) (citing EEOC Compliance Manual, No. 915.003 (May 20,1998).
Instead the statutory retaliation clauses prohibit any adverse treatment that is based upon a
retaliatory motive and is reasonably likely to deter the charging party or others from engaging
in protected activity. With that said the agency finds that the allegation, assumed to be true,
would not be sufficiently severe or pervasive to establish you were subjected to harassment
and is unlikely to deter protected activity.

And while you are seeking compensatory damages, the Commission has held that a complaint
is not converted into a processable claim merely because the complainant seeks
compensatory damages. See Ulan off v. U.S. Postal Service, EEOC Request No. 05950396
(January 26, 1996)

Therefore, your complaint alleging discrimination as cited above in issue # 1 is dismissed as
failing to state a claim in accordance with 29 C.F.R. §1614.107(a)(1).


   2. On an unspecified date your personal vehicle vandalized.

Pursuant to 29 C.F.R. §1614.107(a)(1} provides that prior to a request for a hearing in a case,
the agency shall dismiss an entire complaint that fails to state a claim under 29 C.F.R. §1614.103
                                             - 4-

or 29 C.F.R. §1614.106(a) or that states the same claim that is pending before or has been
decided by the agency or the Commission.

A review of the instant issue reveals your most recent formal complaint, EEO case # 1H-322-
0007 -10, alleging your personal vehicle had been vandalized and you had been followed to work
filed on May 1, 2010. In that complaint you on multiple occasions your tires were flatten while on
postal property. You also provided receipts from the dealership indicating a tire had been
repaired. These receipts date back to 2008. The Agency reviewed your formal complaint and
issued a dismissal decision on May 11, 2011. The record indicates you did not appeal the
Agency's decision, therefore processing on that complaint ceased.

It should be noted in reviewing the instant complaint you did not provide any current incident
date. However, in your attached narrative, you state this issue/incident occurred more than a
year ago. Additionally, the record contains management's statement that years ago you made
him aware of vandalism to your car and the matter was looked into, but you have not made him
aware of any new incidents of vandalism.

The Office of Federal Operations has affirmed the dismissals of complaints where the matters
raised are identical to those raised in a previous complaint or request for pre-complaint
counseling. See generally Terhune v. U.S. Postal Service, EEOC Request No. 05950907 (July
18, 1997. See Rainville v. U.S. Postal Service, EEOC Appeal No. 01A51952 (May 4, 2006)
(identical issue settled in a previous complaint) and Porter v. U.S. Postal Service, EEOC
Appeal No. 01A02013 (February 12, 2003) (identical issues previously decided by the
Commission). See also, Hogan v. U.S. Postal Service, EEOC Appeal No. 01A24892 (January
30,2003) and Smith v. U.S. Postal Service, EEOC Appeal No. 01A14221 (November 5,2002)
(termination claims identical to those raised in complaints under investigation); Mozee v. U.S.
Postal Service, EEOC Appeal No. 01A20805 (October 16, 2002) and Bailey v. U.S. Postal
Service, EEOC Appeal No. 01 A20804 (October 11, 2002) (continuing denial of a requested
accommodations identical to previous accommodation complaints).

Therefore, the record shows that your issue # 2 is identical to a previous complaint and is now
dismissed in accordance with 29 C.F.R. §1614.107(a)(1) as stating the same claim that is
pending before or has been decided by the agency or Commission.

Appeal to the Equal Employment Opportunity Commission

If you are dissatisfied with this decision you may appeal to the Equal Employment Opportunity
Commission within 30 calendar days of the date of your receipt of the Agency's final action, or,
if you are represented by an attorney, within 30 calendar days of your attorney's receipt of this
action. The appeal must be in writing and filed with the Director, Office of Federal Operations,
Equal Employment Opportunity Commission, P.O. Box 77960, Washington, D.C. 20013-8960,
or facsimile to (202) 663-7022. The complainant should use EEOC Form 573, Notice of
Appeal/Petition, (attached to the agency's decision) and should indicate what he or she is
appealing. Any supporting statement or brief must be submitted to the EEOC within 30 calendar
days of filing the appeal. A copy of the appeal and any supporting documentation must also be
submitted to the agency's designated office: National EEO Investigative Services Office, P.O.
                                                     - 5-

      Box 21979, Tampa, FL 33622-1979.lIn or attached to the appeal to the EEOC, you must certify
      the date and method by which service of the appeal was made on the agency's offi~~"

      Failure to file within the 3D-day period could result in the EEOC's dismissal of the appeal unless
      you explain, in writing, extenuating circumstances which prevented filing within the prescribed
      time limit. In this event, extending the time limit and accepting the appeal will be discretionary
      with the EEOC.
r--
      If you file an appeal with the EEOC's Office of Federal Operations, you may thereafter file a civil
      action in an appropriate U.S. District Court within 90 calendar days of your receipt of the Office
      of Federal Operations' decision. A civil action may also be filed after 180 calendar days of your
      appeal to the EEOC, if you have not received a notice of final action on your appeal.

      Right to file a civil action

      In lieu of fiJiOQ-aO.a~9JwithJ~~_EQ1l~I!;mplQY.ment Opportunity Commission, you may file a civil
      acljon° in an appr~ate_.       .u.s....
                                      .DistricLC.QUItJ!'tittlin :9(f calenciar days·oryo"lH·-receipt· of this
      dedSion.-lf you cPoose-..to file a civil action, tbaLaction shoulooe captloneCRtchard W.
      McLaughlin vs. Patrick R. Donahoe, Postmaster General, U.S. Postal Service. You may also
      request the court to appoint an attorney for you and to authorize the commencement of that
      action without the payment of fees, costs, or security in such circumstances as the court deems
      just. Your application must be filed within the same gO-day time period for filing the civil action.




                                                             July 24.   2013
      Pattie Middleton                                       Date
      EEO Services Analyst

      Attachment:      EEOC Form 573, "Notice of Appeal/Petition"
                       PS Form 2570, EEO Dispute Resolution Specialist's (DRS) Inquiry Report
                                                                                                       Case No.
 u.s. Postal Service                                                                                   1 G·322·0019·13
 EED Dispute Resolution Specialist's (DRS) Inquiry Report
                                                          NOTICE OF RESTRICTED USAGE
Access 10, and usage of, Ihis EEO report is restricted by both the Freedom of Information Act and the Privacy Act to: (1) the complainant and his Of her
representative. and (2) government olllcials who must have access to the files to discharge their OFFICIAL duties. The report must be safeguarded.
Willful violatioos of these requirements are subject to criminal penalUes (5 U.S.C. 552a(i)).



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                    .
 7452 Cliff Cottage Dr                                                       Jacksonville NDC
 Jacksonville FL 32244                                                       7415 Commonwealth Ave
                                                                             Jacksonville FL 32099·9998

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 Mail                                                                                                               1

                                                                                                                             "


                             No

                                                                                                                         06/20/2013

                                      Ii

o   1. Race (Specify):                                                      0   6. Age (Specify Date of Birth):

o   2. Color (Specify):                                                     0   7. Physical Disability (Specify):

o   3. Religion (Specify):                                                  0   8. Mental Disability (Specify):

o4. Sox (Speci fy):
~--~~------------------~
                                   9. Genetic Information (Specify):        0
o5. National Origin (Specify): [8]10. Retaliation (Specify Cited Prior EEO Activity ):

Discrimination Claim(s):
The Counse lee alleges discrimination based on prior EEO activity when on 4/26/2013, he was followed to and
from work and his personal ve hicl e was va ndalized.




The Counselee requested that management provide a credib le threat repo rt on Mr. David Rubach and to complete
an investigation into all issues he has presented .
On PS Form 2565 counse lee request compensation for pain and suffering for the past 13 yea rs - this matter was
not discussed during the pre·complaint process.
PS Form 2 570 . October 2010 (Page 1 of 3)
                                           EEO Dispute Resolution Specialist's Checklist
Please check Al l Thai Apply,

181    1.   I informed counselee of the impartial role of the Dispute Resolution Specialist in the EEO complaint
            process, explained the EEO process, and provided counselee with the booklet, What You Need to Know
            About EEO -- an overview of the EEO process in the Postal Service.
181    2.   I notified counselee of his/her right to be accompanied, represented. and advised by a representative of
            his/her choice at any stage in the complaint process . If counselee elected representation, I obtained the
            following information:

       Representative's Name:_______ _ __ _________________________
       Tttle :_ _ __       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                    Telephone Number: __________
       Fax No: _ __ _ _ _ _ _ _ _ _ _ _ _ ___                   Email Address: _ _________ _ _ __ _ __ _

       Mailing Address:


181    3.   I advised counselee of his/her right to remain anonymous during pre-complaint counseling and he/she
            DID _X_ waive anonymity.

181    4.   t explained the privacy act notice. Counselee signed a copy of the notice prior to the interview.

o      5. If a mixed case, I informed counselee of the mixed case election procedures in 29 C.F.R. §1614.302 .

o      6.   If age discrimination was alleged, I informed counselee of the alternate procedures available for pursuing
            age claims, as oullined in 29 C.F.R. §1614.201.

D      7. If a sex based claim of wage discrimination was alleged under Equal Pay Act (EPA). I advised counselee of
          his/her right to bypass the administrative procedure and file a civil action, as oullined in 29 C.F .R.
            §1614.408.

o      8. If discrimination based on disability was alleged I informed counselee of his/her requirement to submit
          documentation of his/her disability. Documentation HAS __ I HAS NOT __ been submitted.

o      9.   If counselee presented his/herself as an agent of a class. I explained the class complaint procedures and
            the class agent's responsibilities, as oullined in 29 C.F.R.§1614.204.

[8J    10. I informed counselee of his/her requirement to immediately noliry the area NEEOISO-EEO Contact Center
           and EEOC if the representative's or his/her mailing addresses change .

D      11 . I explained thai I will not be the one who will mak ~ the decision on the acceptability of counselee's claim(s);
            but. there is a possibility that, for tile reason(s) I have briefly restated below, the claim(s) will be dismissed
            in accordance with 29 C.F .R.1614.1 07.




PS Form 2570, October 2010 (Page 2 of 3)
                                                    Dispute Resolution Specialist's Inquiry
Counselee alleges discrimination based on Retaliation when on 4f26f2013 he was followed to work and on an unspecified date.
counselee alleges vandalism of his car while at work. Counselee states that members of management are fOllowing him to work.
attempting to intimidate him by following him closely and monitoring him while he visits public establishments. Counselee states RMO
Rubach followed him to and from work on several occasions. Counselee slates that management has been following him for a long
time and they have requested the Duval County Police Department to follow him as welL Counselee states that he has mainlained a
professional altitude but will nol con tinue to be harassed in Ihis manner.

RMO, Kenneth Joe, Sup. Dis!. Operations (SDO) at National Distribution Center (NDC) - May 28, 2013 RMO Joe stated he did not
discriminate towards the counselee. RMO states. no one was hired to fonow counselee to or from work. RMO states that around the
same time counselee filed this EEO, he approached counselee and instructed him to slop using his cell phone while working. After this
conversa tion. RMO held a safety talk and express ed his concerns of employees using cell phones while working and the dangers of
dOing this. RMO states he was told years ago by counselee that someone vandalized counselee's car. RMO further slates, Ihal at thai
time. surveillance of Ihe area where counselee parked was reviewed and they could not see when or if someone vandalized the
vehicle. RMO states that counselee has not made him aware of any new issues of vandalism.

RMO, David Rubach, SDO - May 31, 2013 - RMO Rubach slated that he did not discriminate or harass counselee on April 26, 2013.
RMO states that both the counselee and he travel to work using 1-295N, if counselee sees RMO behind him- it is not because RMO is
intentionally following him. RMO states, this is the direclion he travels to work daily (a great percentage of employees travel this
direction to the NDC) and he and counselee had similar schedules. RMO states he will often pass people on the road and if he passed
or followed or was directly in front of counselee, it was nol because he was attempting to intimidate counselee but that he is only Irying
to gel 10 work .. RMO states he was never nolified of anyone doing damage to counselee's vehicle .




In that th e matter could not be resolved in cou n sel ing, o n 6/5/2013, PS Form 2 579·A and PS Form 2565 were
mai led to the coun selee via Priority w/Sig n ature Confirmatio n # 2308 3250 0000 7888 3984. Records r efl ect the
NRTF forms wer e rece ived o n 6/11 /2013.




                                                                              Privacy Act Notice                                                  \

Tho col le<:tion of this information is authori zed by tim Equal Employment                 or other benefits: 10 a congressional office lit your request. to an expe rt. consul1ant
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Employment Ad of 1967. as amended. 29 U.S.C. § 633a: the Rehabilitation Act of              Federal Records Center for slorage: to tho Office 01 Management and Budget for
1973. as amended. 29 US C § 794a. arK! Executive Order 11478. as amonded.                   review of privllie reliel legislation: to an indcpendeflt certified public accounwflt
This information wi1l be used to adjudicate complaints of alleged discrimination and        during an ofrlCial aud,t 01 USPS finances. 10 an investigator. administratJve judge or
10 evaluate the effectiveness of lhe EEO program As a routine use. this information         complainls examiner appoinled by the Equal Employmenl Oppoflunily Commission
may be disclosed to an appropriate govemmonl a(lOncy. domestiC or foreign. for              for investigahon 01 a formal EEO complllini under 29 CFR 1614. to tho Merit
taw enforcement purposes. where pe rtinent. in a legal proceeding to which the              Sr-;lemS Prote<:1ion Board or Ofroce of Special Counsel for proceedings or
USPS is a party or has an interest: to a government age ncy in order to obtain              investigations involving persoMel praclices and other 'nattefs wilhin their
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cleara nces. contracts. licenses. grants. permits or other benefils: 10 3 government        Act. Under 1110 Privacy Act provision, tho infonnation rcqueslco is vo luntary for the
agency upon its request when relevant to its docision conceming employment.                 complainant. and for Postal Scrvico employees and other witnesses.
security clearances, security or suitability investigations. contracts. licenses. grant~

Office Address of Dispute Resolution Specialist                                            Office Address of Manager EEO Compliance & Appeats
(No.. Street. City, State, and Zip + 4)                                                    (No .. Street. City. Stale. and Zip + 4)
  7415 Commonwealth Ave                                                                      SO UTH EAST AR EA OPERATIONS
  Jacksonvi ll e FL 32099 ·9998                                                              225 NORTH HU M PHREYS BLVD
                                                                                             MEMPHIS TN 38 166-0978
Specialist's Office Telephone No.                                                          Specialist's Office Hours
     (904) 783-7286                                                                                                            0730-1630
Signature of EEO Dispute Resolution Specialist                                             Typed   ~lame   of EEO Dispute Resolution Specialist               Date
                                                                                                                                                                  611912013
                                                                                           Wendy Fuller



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 Name is Richard ~~l~e McLaughlin, XXX-XX-XXXX, I worked at the BMC 7415
Commonwealth Road, Jacksonville, FL 32099, and I have reason to believe culprits working for
the BMC intercepted my first EEO package in the mail. I had mailed on June 4, 2007,Ididn't
get the letter certified and I am sending this draft and I have requested another EEO package. I
saw a BMC employee name Mike Lammona who used to be assigned at the BMC as a mail
handler working at the nearest post office, near my house and I am very suspicious of him.
Because he was also a 204b at the BMC and he knows all about me from management, he was
and still is part of management. He is currently on a detailed and I have reason to believe, if I
send anything from the Westland Post Office were he works or at any of the surrounding post
office, concerning EEO or anything in that nature to Washington D.C., in my opinion they would
have my package intercepted because management work together and stick together no matter
what happens. I have sent the first package first class mail at the orange park mall on June 4,
2007 and I don't trust them either, the postal system are notorious for there networking,
concerning management. I was waiting on someone to contact me concerning my EEO package
and as of Friday June 8, 2007 I still do not have a answer, the reason I believe my EEO package
could have been intercepted, when I went to work on Tuesday June 5, 2007 management was
looking at me very suspicious as if they knew, what I had written, in my EEO package. When I
feel this way ninety nine percent of the time, I am right on target.
I want to summarize, my eight years with the Postal Service. I want to start off by telling a little
about myself, I am a family man with a wife and three children. Who I work so hard for and I
want to provide a future for, my family my name is Richard Wallace McLaughlin; I have work
for the Postal Service for about eight years. I have about five pride awards and including one
from the GMF diversity team. I am a ten-year Navy veteran, with various awards and ribbons
throughout my naval career. I want to say that, I am proud to have served my country with
dignity and respect and have work for the government for almost ten years, and my naval service
time have given me a total of almost 20 years of government service. I have almost seven
hundred hours or more of sick leave and over 400 hours annual leave. According to my peers
and co-workers, I am a model postal worker. I am also a MinisterlPreacher I am a Christian; I
attend church service two or three times a week. I am licensed to preach in the prisons, I will be
conducting church service June 10,2007 at Baker County Correctional Facility. I don't drink
alcohol or smoke and I don't use profanity and never have used profanity. I am honored to have
served a great country as the USA. Even though as an African AmericanlBlack person serving
in the military for our freedom. The African American is not totally free in his own country and
can die for his county and still is treated like a second and third class, citizen. My unit had
fought over in Iraq in 1991 and 1992. The same thing that happened almost thirty years ago in
Vietnam in the seventies. African American still had trouble getting fair; treatment and the same
thing still exist today. Even though we have made great strides, trying to improve equality.
Things are much better today than; it was in the old days. We still have a long way to go, even
in America churches are considered to be the most segregated hour in America this is a problem.
If the church can't get it right who can? There is a underline truth with the plight of African
American people anyway this is not nothing knew, during slavery white America attended
church as nonnal. Even though reading the Bible and following Jesus Christ he was supposed to
be the outline for mankind. That was the reason for the Civil War try to abolish slavery and the
evils it brought on a people. Even though slavery was continuing mostly in the south. There
were Blacks in the south that fought to keep slavery alive. My point with this most Blacks
still, will not speak up for what they know is right. Racism is wrong and discrimination is
wrong. I am not alone when writing this letter ninety nine percent will admit, BMC is one
of worst Federal Government jobs to work in this country, most of African Americans will
not speak up, they only talk among themselves. As long as they make a certain amount of
money they're happy. My belief is never comprise your integrity, with no one, I am a
follower of Jesus Christ, Abraham Lincoln and Martin Luther King, Jr. three men who
laid their life down for freedom and who most of the Christian world follows today. Even
talking to the President of the union Warren Sapp in his own, words said and I quote "One
day the BMC will have a big riot between the Blacks and the Whites." My response to him
is he needs some outside help, because the majority of the people in leadership will not
change, if the leadership allows this to go on, there is no hope. I want to be part of the
solution not the problem.
I am a quiet person, I don't bother anyone, I just do my job and try to support my family and I
am not trying to re-invent the Civil Rights Bill, I have been push and push in the corner so long.
I will not keep silent anymore and I haven't keep silent about some of the issues at the BMC.
Even written this letter my life could be in danger, I told my wife that I would write a EEO
and she is scared for me everyday because of the problems, I have endured at the BMC I
just wanted to make a living for my family and watch my children grow-up, just as Martin
Luther King did I feel the same way he did and I am willing to lay down my life for this evil
that exist at the BMC. If I would lay down my life for this country I will have to lay it
down so the truth will be told and I have been targeted every since I have been at the GMF.
Management at the BMC knew who I was before I check in. I had so many white co-
workers looking at me with so much hatred as if I had rape President Bush eight-year-old
daughter. I am just given this scenario and I still get the same look today. I don't
understand it but it is reality and the Black 2048's also which is a part of management does
the same thing. I am not making this up just do the interview and if they tell you the truth
it will come out. Even I have a perfect attendance record and sick leave record and I do
what I am told, to do on daily basics. I have called the hot line in Washington D.C., and
reported the things that go on even though I didn't give my name, they knew it was me and
when I return to work I got more stares and rejection as though they wanted to kill me.
I don't expect the place to be a heaven on earth, either, I was in the Navy for ten years and never
endured half of the things, and I have endured as a postal worker at the BMC. I have talk to
Kathy Silcox MDO in her office before and she; don't care because she is one of the problems.
She don't care about equality, Larry Christener was also the same way and is not the MDO on
Tour 1. They are white and don't care Kathy Silcox is a white female and Larry Christener is a
White male. Larry Christener was in trouble grabbing or pushing Tony Varner, who is a black
employee and still works in States NMO's and I was on leave at the time of the incident but I
believe it to be true considering, he is not in the MDO anymore. I will give a chronological
timetable of current events that lead me to file, this EEO. There are grievances on Kathy Silcox
for breaking rules that's set by management and the union, with moving me out of my work
place and putting other co-workers their who is not even assigned to FL NMO's. And I didn't
even write most of the times she broke the rules and she know the mles. I have endured this for
three years and I didn't want to write this EEO honestly. I could be cutting my grass or painting
my house, my sons have a football game at 5:30 pm. I really am not about seeing people, go
down but something has to be done about this place. I am really a optimistic person and I am
upbeat and I have a lot of white friends, my wife is Spanish, her sister is married to a white guy,
we are all mix up. We need to get out of the old way and treat people the same. I didn't go in
the military and serve for a white America a black America; I went to serve for America.
When I was in the military we work together. party together. prayed together. died
together and a lot of people in the Postal System do not understand that. They just
considered you as a black person or white, Spanish. What is Blacks doing over in Iraq, if
they are fighting for the Iraq's freedom what about their own freedom in America. as
Americans we must embrace change and most of the older generations is not willingly to do
that??? And my answer to that is go find another job. maybe with the KKK. This is a very
painstaking letter for me to write the facts are alarming. Some employees don't want to
work beside certain employee's and management never address these issues. these issues
must be address in order to have a safe and productivity environment. some of the times it
is race issues and black and white issues. not all of the time but moving the individual to
another location temporarily is not solving the problem.


My problem started around May 2000, I called in sick on a three day weekend and was given a
letter of warning, I had called in once in almost two years and the second time, I called in I
received a letter of warning to me and the union rep, that was a little harsh. Not only that single
incident, but other incidents lead me to file an EEO. I was also given an AWOL even though I
had called the supervisor pager. I won the case and the letter of warning was thrown out as well
as the A WOL. Someone had put a nut or bolt in my food while at Monument Station and I had
put that in my previous EEO. The Station Manager was Brian Gordan, I had to file an EEO
because, I was targeted because, and I had fought back against the letter of warning and AWOL
charges.
       Monument Station 1999 to 2000
       Air Mail Facility 2000 to 2001
       General Mail Facility 2001 to 2003
       Bulk Mail Facility 2003 to current

I received one Pride Award from the AMF and three Pride Awards for the GMF and two in the
same year and one from the Diversity Community and another one from the GMF. I was a clerk,
I worked the DBCS machine. I would feed the mail and sweep at the same time. The OBCS
was a two-man operation but I could do it by self and I did what it took to get the mail out. I
receive a Pride Award at the AMF for working hard and it paid off. I was use to having meet
short deadlines in the Navy. So that was nothing knew to me. I wasn't harass as much at the
AMF reason being there was a African American in the change of command, and his name was
Mr. Otis, I don't remember his last name but he was on Tour I. I know he was very sick at one
time. I love the Air Mail Facility, but it was two far for me to drive. I had work at Monument
Station Post Office and both of them were thirty-five miles one-way and I didn't like driving
over the Matthew Bridge everyday. I stayed on the Westside, close to Orange Park, I wanted
something more convenient. I had met Stacy at the AMF and she had a friend at the GMF, she
lived closer to the AMF and we agreed to swap, since we were both PTF. Stacy was white and
her friend was white. I don't remember her name now. I know Stacy had job as a clerk at the
GMF and her friend work at the GMF personnel office, she help me transfer to the BMC.
  While being station at Monument Station, Brian Gordon had friends in high places, Brian
Gordon is white male. He had a white co-worker in management, her name is Nancy Pardine,
and she was MDO Tour I at the GMF. Alone with Mike Phelps which recently passed away. I
think Nancy Pardine is in charge at the Priority Mail Facility. I started to notice every time I
went to the bathroom to and from the break room someone with a radio was following me. Even
sometimes Nancy Pardine was waiting on me to come out of the restroom. I notice most of the
people would be management, maintenance personnel and 204b's watching me. Most of
management was white and some black, the same way with the 204b's. They had another
individual following me that work in in-plant support at the GMF, his name was Doug Emory, a
clerk with a radio and he would come to the Air Mail Facility, too watch me also. The person
that was in charge of in-plant support at the GMF is also now in charge of in-plant support at the
BMC and his name is Mr. Paul J. Apolinario I knew this was not good, and I was not afraid
because I know how to go by the book and I was not doing anything wrong and I am a strong
will person, after all I had survive ten years of military duty. I know how to do the right thing
and I am Christian I took my Bible to work, everyday because I am a preacher of the Gospel. I
went to break came back on time since we clock out to and from breaks. I said this would be
short lived; management would find out the truth and leave me alone. But the same things that
happened four years ago are still happened today. How else could a man be hated so much,
when I just had arrived at the BMC, I had so many enemies and I had just check-in. You don't
have to be a rocket scientist to figure these things out. I had a talk with Mr. Otis at the AMF
while. I was there and I ask him about being a 204b at one time. his response was if they
don't like you. they don't like you. I guess he meant the white management. I really
couldn't understand since I was awarded a pride award for a job well done. I met another
black manager at the GMF and her words were more startling, her name is Robin which
she is a black female who was over the DUCS machines. She repeated something similar
she said they were out to get me, was her very words; again I assumed she meant the white
management and. I responded get me for what and she said she didn't know. I told her
they could watch me until I retire. The only thing I can figure out is the prior EEO from
Monument since Nancy Pardine MDO at the GMF was linked to monument station. I
received three Pride Award's at the GMF and one from the diversity team at the GMF. I
could not figure out why I was being treated this way and later on Kathy Silcox and
management. and everyone that carries a radio. 204'bs. especially maintenance personnel
at the BMC has targeted me. It is illegal to go around and suspect a individual is doing
something wrong, Jacksonville Sheriff Office was doing about five years ago. Example if a
Black person owned a Bentley. which is a 300.000 to a 500.000-dollar car or Mercedes Benz
you could not follow that person around just because. That was considered profiling a
person that was illegal. And another thing a man is innocent until proven gUilty. I feel like
often times it's the other way around when it comes to African Americans a person is
Guilty and have to prove he is innocent. I am innocent and I am a tax paying citizen and a
registered voter and I don't deserve this kind of treatment.


I have talk to Kathy Silcox about this and I have talk to Mr. Lloyd Brumagin, he was the Plant
Manager for thirty something years and in my opinion he has made the BMC, like unto Selma
Alabama in the sixties or Binnin~am Alabama.. He assured me nothing was wrong and he said
I did my job. I talk to him after my Tour was over; the tour is over about 0830 in the morning. I
knew he was not telling the truth and when I left to go home a 1S0 car was outside in the parking
 lot. I am assuming that they thought I would be violent and the Jacksonville Officer would come
 and have me arrested. I know this to be true myself having experience some of this myself, a lot
 of people do think most blacks are violent and this is a very bad misconception, it's sad but it's
 true. My problems with the BMC begin and end with management, if you file an EEO or
 anything every white person in the building knows about it. Management talk with other white
 workers about things they should not be discussion. There is not integrity within the ranks only,
 when it come down to black and white issues, they talk among themselves everybody white
 included. It's as if we are playing by a different set ofmIes, even though the government has
 established its rules and discrimination is against government policy and its in black and white
 writing. I believe the knew BMC manager will do a better job racial issues must be address. I
 will try to list dates and time of certain incidents, that lead me to file an EEO. IfI don't file one I
 am not protecting my civil rights and if something happens to me if, if I get hurt or killed there is
 no record of what I am saying that's why I have to filed one. I have talk to the BMC Plant
 Manager Mr. Lloyd Brumagin and I stated, why would a man with a family, with a wife and
 three children and a wife who don't work, because day care would be more than she would
 make. And with a two-year-old daughter jeopardize, his career and lively hood over something
 stupid and he said you are right. I talk with Kathy Silcox and she denied the claim as well, she
 began to talk about family matters in general, nothing that was pertaining to the subject, that I
 had ask her about. I ask her about why was maintenance following me around on their bi-cycles
 and management and 204b's they are part of management. Some of the 204b's I will name,
 Sharon Hall, Ted Demas, J.B. Williams, Tyrone Weeks before he made supervisory and even the
 new 204'bs that don't even know anything about me only what management has told them, and
 they are all negative and lies. I explain to her, I was aware of everything that was going on, the
 same method was done at the GMF and the same was being done at the BMC. I consider myself
 as a military man and one the military teaches you is observation more than anything. I can feel
 my surrounding and know something is not right. I was with PHIBCB-2 in Little Creek,
Amphibious base, we camp out in the field's months at a time. I was in Army JROTC in North
Carolina and the military is a unique force to be in, I learned how to survey an area. I learned
movement of anything that's surrounding my area. I know what I am saying is true to the best of
my ability. Most of the people that are doing this, I know and studied every move they make.
Trust me they are trying to be like some unique unit like the FBI and CIA or SWAT team, with
no training. They are unskilled men with radio's some of them don't even have half the training,
I have. I am talking about Management, Maintenance personnel, 204b's what is the purpose of
following, me to the restroom, break room, when I come to work and when I leave work, this is a
form of intimidation and humiliation which is illegal to any individual. The only reason they
could be using a tactic like this, they are trying to provoke me to a fight and then I would lose my
job but the only problem is they don't know, who they are dealing with and they pick the wrong
one and I am a man of God. I might not have a lot of money and materialistic things but one
thing I do have. I have integrity. I list scheduled of events that push me to file, this EEO.


  I check-in around June   200'},shortly after two employees had a fistfight, I didn't know them I
only heard about it. I found out it was a black employee and a white employee and I don't know
who hit who first. The black employee lost his job and the white employee still drives the
forklift and he is currently on Tour 3 and he walks with a limp.
  I believe Bill Benntifield who is white was the supervisory at Inbound South, over the
individuals that had the fight shortly after I arrived. The word was told to me, before he was a
manager he stated to a co-worker who he thought was white, while they were working in the
truck working the mail. His comments were we must stop them Niggers from progressing, he
stated that to a man handler on Tour3. His name is Sonyaii or something close to it. The
employees still talk about it today, I have never asked the employee about it but I have heard of it
from three or four employees without even asking them any information about the situation.


 Bill Benntifield has been the MOO on Tour I and a person with that mentality, should not be in
management anywhere in this country especially over military veterans. I was told he has never
been in the military before, he also has watch me at the clock, to and from breaks as well.


  Bill Benntifield is probably in the head leader of racial issues at the BMC, he comes in or
around 0430 in the morning. He plays behind the seen as if employees do not no what he is up
to, and I now he is personally involved with targeting me and Jimmy Pope, which is his buddy.
Once upon a time he was upgrading a driver to levelS every single day, which mail handlers is
level 4. I was number 4 on the seniority list of drivers operating, the forklift the mule and other
equipment we were supposed to be pick in seniority order to drive the forklift and to be upgraded
to levelS which is more money. Darryl Spencer is white and he was not even in the top ten or
probably he was number 15 or so and Bill Benntifield would have him driving every single day
for months an employee reported this to the union and I don't know the outcome or action that
was taken Warren Sapp was handling the case. Bill Bentifield and Kathy Silcox target me on a
daily basis. Once upon a time for about 10 month period. I was moved to South Inbound
everyday to work a sack truck, which is not even my bid job my bid job is FI NMO's even while
other South Inbound personnel stood around and talk, so I complain to the union and Tyrone
Stanley said something to Dave Ruback which is a new supervisor and they stop putting me in
the sack truck everyday, which is not part of my bid job. Sometimes, I did two sack trucks in a
couple of hours, when it takes most mail handlers much longer and I didn't complain. I was
always moved from my bid job area from 0630 to 0830, and I don't mind making critical
deadlines or moving another bidjob area but most of the time the truck was staked from top to
bottom with sacks normally two people was put in the sack truck and I didn't have any help and
they told me the truck had to be out by 0830 and ninety nine percent of the time the truck was
out on time if the sack system stayed up. This happened from probably mid 2006 until beginning
2007.


  This happened, I want to say around fall 2003. An employee name Steve from Alabama called
Tony Varner a Nigger; we were PTF assigned to North West Inbound unloading trucks. I didn't
hear him I was about thirty or forty feet from them. I saw other co-workers trying to break them
up. There was not a punch thrown as far I could see. Steve later apologized I hear and Tony told
me he would not accept his apology.


  Later on that same year, I saw John Murphy who is white and is in management on tour 3
approached a person name Quinton who is black he work at Secondary on Tour I, something
about being out of his work area. I saw John Murphy yelling and screaming at him and they
were face to face as if they were going to fight. I have never experience, this anywhere in almost
20 years of combined military and postal service. They exchange a few words and he left and
went back to his work area. I am not defending him because he is an African American
employee, he shouldn't have been out of his work area, but the manager John Murphy could
have handled the situation differently. The Post Office put out material to be read in Stand-Up
talk, about work place violence and I seen for my own eyes, that some of the managers are part
of the problem and not the solution. My point being it's not your job to scream at a grown man.
Put him on the pad write him up, discipline him or her with the pen.


  I can understand why the Postal Service was always on the news for workplace violence
and the term was always being used about someone going postal. Leadership is responsible
for making things right and if you have, people in leadership with issues and no one want
to ever address these issues. the whole ship will sink eventually.


   In or around 2004, I noticed Kathy Wilcox and Jerry New talking outside while I was leaving
work. I always observed and studied the area, as well as people, I was a PIF mailhander at the
time. I was assigned to FL NMO's and later moved to Secondary docks. I came to work at
midnight and was move from FL NMO's. In Secondary docks your job is to dispatch trucks to
other places. I noticed that the Gainesville, FL truck was due out at 01: 15; I had around thirty
minutes to load and tie the truck down. Whilemail handlers was still bringing mail to the truck,
that's normal but what wasn't normal was sixteen GPC'S was facing the other side of the loop,
with the Gainesville tag facing the other direction. I got the mail onto the truck in time with the
help of another employee name Alphonsa Russ he is a retired Major in the Air Force; he is an
older employee with gray hair on Tour 3. He discovered the mail out of place and told me. I had
worked secondary probably one or two times before, if I hadn't got the mail out, I could have
been writing up for delaying the mail and I think Kathy Silcox and Jerry New had purpose to set
me up because the day before I saw them talking. I talk with Jerry New the supervisor after the
fact and ask him. What the GPC'S where doing out of place and he said he knew they were out
of place and I ask him why he never told me about it, and he didn't have an answer, since I had
such a short time frame to get the mail onto the truck, why didn't Management send me over
there at mid night so I would have ample amount of time to make the dispatch, that's when I
realized that I was being targeted again and set up once again. I had Alphonsa Russ write me a
statement, because I knew what was happening I have the statement somewhere at home and I
will be looking for it for proof and I will produce it for evidence in the near future. Mr. Paul J.
Apolinario BMC In-Plant support know who I am and I know who he is, he was in charge of In-
Plant support at the GMC and I know he was aware of what was going on and still going on. I
am sure he provided a lot of information made up about me that was never true. Since his main
In-Plant support clerk used to follow me around like a fugitive. Ijust don't understand it, I wish
someone would come forward and tell me why should an innocent man endure such harassment.
Show me some evidence of what I have done wrong to deserve this, I just want to have my name
cleared, the wrong need to be made right, that's what I stated to Mr. Lloyd Brumagin.
   In or around August 2005, while I was working in Northwest Inbound unloading trucks. I use
a black bag to put my keys in, my wallet and other personal belongings in, I normally hang my
black bag up alone with, the jackets, sweaters and other items, we have a place to put our things,
because when you are working hard unloading trucks it gets hot, the lighter you are the better.
As I was leaving work to go home, I went into my black bag, to get my key to start my truck
someone had taken my key off the key chain and I could not go home and my wife had a Doctors
appointment, she was seven months pregnant. I had an employee by the name of Keith Hall who
work on Tour II give me a ride home, to get another key, and my wife was very stressed out.
That prompted me to call Washington D.C. hot line and I reported it to them along with the other
things that I was going through, I remained anonymous. I also went back inside and tried to find
it and I ask the control room and no one had seen anything. The odds are probably one in a
million of one key fallen off your key chain. I believe someone had done this with all the things
I have endured so far in the Postal System. I have been targeted and hunting like a criminal since
monument station. What have I did wrong still remains a mystery; besides that first EEO I filed
at monument.


   My wife was so worried about my safety, that the key was still missing and she didn't want
anyone plant drugs or anything in my truck with was a gold 2004 Nissan Frontier, it had a access
cab. I wanted to get a bigger truck because; I had another addition to the family. I had been
looking at the Toyota's trucks and I traded it for a black Toyota TWldra it was very beautiful four
doors, double cap. Someone keyed it very badly in the back and I was hit on the right front side
and I believe someone at work had doing this. I parked my truck at the back, under the light
away from everyone, because I didn't want anyone hitting it. I even parked where a median was
on the right side of me. Someone had grazed the right front of my black truck with a light
colored orange vehicle. I haven't seen any orange vehicles at the BMC, besides maintenance
orange vehicle and I wrote a report on what I think happened to my black Toyota Tundra pick up
truck. I have a police report on it as well, I talk to MDO Tour 2 Susie Gibson and she called the
maintenance supervisor and they look over my truck and acknowledge that it look like the same
color paint. I wrote a letter concerning it I labeled it as enclosure (1). I believe someone higher
up want to kick me out of the Postal Service. I have a wife and three children, who really depend
on my support. I beg and pleaded for seven years not to write another EEO but I believe this
EEO might save my life and I don't have any choice. Race issues is really that bad, I don't wish
anything bad on any person, I just want to be left alone. I want to see my children grow up and
graduate from college and become somebody some day. I would not be able to stand up without
the help of God each and everyday I feel like I have a 1,000 tons of bricks on my shoulder and at
this point, I don't know what else to do, I was considering EAP. I need to get help from some
outside source to investigate my situation ASAP. I have never undermined authority, I have so
much respect for our for fathers of this country Thomas Jefferson, George Washington, John F.
Kennedy, Abraham Lincoln, John Quincy Adams, Martin Luther King Jr., Ulysses S. Grant,
Winston Churchhill and Franklin D. Roosevelt and the list goes on and on. The problem with
management at the BMC they don't understand integrity, I have some of the same qualities as
our forefathers and I especially know the God of the Bible, like they did. I am sorry to have
written such a lengthy letter but my lively hood is on the line, for no reason. I am an innocent
man. That's all management see is the color of your skin and not the contents of your character,
I have waited seven years, just to prove, I was not trying to re-create the civil rights bill and be a
person just by filing EEO's. I just want to be known as a hard working American, I attended
Liberty University, online Christian College which Jerry Falwell founded and when Billy
Graham was in Jacksonville FL, I help in his crusade I was working on my B.S. degree, I had to
stop with all the stress at work and work load at home, having a two year old daughter and two
sons that play football and basketball with the YMCA that's all I am about and my lovely wife
from Panama who I love dearly. I am grateful to have ajob at the BMC and the Postal Service, I
grew up working in the one hundred degree tobacco fields North Carolina, I am a country boy,
we have our farm, hogs, chickens and tractors. I know how to work and strange as it seems I
have been a pacesetter everywhere I have gone including the BMC. I don't know who
misunderstood me alone the way I am sorry if I offended anyone, I have always displayed the
character of Christ, he was murdered, crucified and he was an innocent man and the Son of God.
I am an innocent man just like him the Bible states that, Christians shall be persecuted, for
righteous sake as he was and sometimes losing your life. I feel exactly like him, but racism and
discrimination practices need to be exposed, I will be the sacrificial Lamb for the BMC so the
truth may be told and my life will not be in vain. I stated those same words to a fellow North
Carolina person in management who name is Chuck Cornier, If I was willing to lay down my life
in the military, I am not afraid to die but if! die let it be for a because and then my life will not
be in vain. CLOSING COMMENTS.
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Customer Number:          145165                               '"oio. No,31814                                                        VW of Orange Park
                                                                            -INVOICE-                                                     1481 Wells Road
                                                                           DUPLICATE 2                                                Orange Park, FL 32073
RICHARD WALLACE MCLAUGHLIN
7452 CUFF COTTAGE DR
                                                                             PAGE 1                                                   Phone: (904) 269-2603
JACKSONVILLE, Fl 32244-4450                                                                                                            Fax : (904) 269-2617
Home: 904-779-2440 Bus: 904-783-7125                      Cell:                                                                                  FL. MVU05836

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                                                                       Service Hours are M-F 7am-6pm Sat 8am-Spm *
                                                                       Save $ all we need is your E-MAIL Address *
                                                                     ,  THANK YOU for allowing us to serve you   *
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    ON BEHALF OF SERVICING DEALER. I HEREBY CERTIFY THA~ THE                   STATEMENT OF DISCLAIMER
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                                                                    (};ustomer Copy                                                                       Page 1 of 1
-.--     .....
Cus tomer Number:          145165                                                                                                  VW of Orange Park
                                                                             ' INVOICE"                                                1481 Wells Road
                                                                                                                                   Orange Park, FL 32073
 RICHARD WAL LAC E MCLAUGHLI N
 7452 CLIF F COTTAGE DR
                                                                              PAGE '                                                Phone: (904) 269-2603
 JACKSONVILLE, FL 32 244·4450                                                                                                        Fax: (904) 269-26 17
 Home: 904-779-2440                   Bus: 904·78 3-71 25   Cell :                                                                     FL. M\I #05836
 Email '                                                                       SER V ICE ADV ISOR · 437 IRIS E HUNTER
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                                                                     * Thank you for servicing with t he al l ne ,,,,                                             *
                                                                     *           "VW of Orange Pa rk"
                                                                     * Servi c e Hours are M-F 7am-6pm Sat Bam-Spm                                                *
                                                                     * Save $ all we need is your E-MAIL Address                                                  *
                                                                     * THANK YOU for allowing us to serve you                                                     *
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     ON BEHALF OF SERVICING DEALER, I HEREBY CERTIFY THAT (fHE
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r:Jstomer Number:            145165                            '",ol,l No,32445                                                       VW of Orange Park
                                                                       I         "INVOICE.                                                1481 Wells Road
                                                                                                                                      Orange Park, FL 32073
RICHARD WALLACE MCLAUGHLIN
7452 CLIFF COTTAGE DR
                                                                                  PAGE 1                                              Phone: (904) 269-2603
JACKSONVILLE, FL             32244A450                                                                                                 Fax : (904) 269-2617
Home; 904-779·2440              Bus; 904·783·7125         Cell;                                                                                 FL. M'J#05836
Email'                                                                            SERVICE ADV ISOR' 403                           PAUL     0   BERGERON
      COLOR               YEAR              MAKE/MODEL                 I                        VIN                             LICENSE           MILEAGE INI OUT           TAG

      BLUE                 06           VOLKSWAGEN JETTA         3VWCT71 K66M84831 8                                                              35842       35843      T4347
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                                                 ave $ all we need is your E-MAIL Address *
                                                 THANK YOU for allowi ng us to serve you    *
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 0' BEHALF 0, SERVICING DEALER. I HEREBY CERTIFY
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                                                                    JUSIOmer Copy                                                                              Page 1 of 1
C,;-;tomer Number:       145165                                                                                                         VW of Orange Park
                                                                              "INVO IC E"                                                   1481 Wells Road
                                                                             DUPLICATE 1                                                Orange Park, FL 32073
RICHARD WALLACE MCLAUGH LI N
7452 CLIFF COTTAGE DR
                                                                               PAGE 1                                                    Phone: (904) 269-26Jl3
JACKSONVILLE. FL 32244-4450                                                                                                               Fax: (904) 269-261,
Homo: 904·779·2440 Bus: 904·783·7125                       Cell :                                                                                 FL. MVU05836-                  \
Email :                                                                         SERVICE ADV ISOR:                               403 PAUL 0 BERGERON
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CAUSE : E
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                                                                       * Service Hours are M-F 7am-6pm Sat aam-Spm *
                                                                       * Save $ all we need is your E-MAIL Address *
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                                                                                                                                      DESCRIPTION                TOTALS
    ON BEHALF OF SERVICING DEALER. I HEREBY CERTIFY TllA T THE                    STATEMENT OF DISCLAIMER
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                                                                      Customer Copy                                                                         Page 1 of 1
CUSTOMER #: 7C3"06                                                                ·--                                          )·Steen Volkswagen
                                                                                                                                         11401 Philips Highway
                                                                                                                                     JACKSONVILLE, FLORIDA 32256
RICHARD MCLAUGHLIN                                                                                                                          (904) 322-5100
                                                                                  OSTEEN           \J('J
7452 CLIFF COTTAGE DR                                                     i 1~01 PHILliP':, H!N
                                                                                                                                          www.osteenvw.com
JACKSONVILLLE, FL 32244                                                JI·!CKSONV rLLE , FL 322SE,                                              MV·31619 ,
HOME:904-772-8383 CONT:~                                                   TERMINAL 07%250
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31MAR07 Dr                                            SALE WTrlL                                                                            CA H           14NOV08
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LINE OPCODE TECH TYPE HOUk                                                                                                         LIST              NET       TOTAL
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     MB2T MOUNT AND BALANCE TWO TIRES
             486 CVWM                                                                                                                     31. 98               31. 98
        2 0352277 205-55-16 CONT CONTIPROCONT                                                                                   128.00   128.00               256.00
        2 TIRE DISPOSAL                                                                                                           2.00     2.00                 4.00
PARTS:    260.00 LABOR:      31.98 OTHER:                                                                     0.00             TOTAL LINE A:                  291.98
36330 LEAKING PLUG IN DRIVER FRONT TIRE SLOW LEAK. 1.00 REPLACED
BOTH FRONT TIRES: TO KEEP EVEN..
                         ****************************************************
                                                                                                       CUSTOMER APPRECIATION
                                                                                                     PARTS AND SERVICE SPECIALS
                                                                                                       VISIT WWW.OSTEENVW.COM

                                                                        IF YOU ARE SURVEYED BY THE MANUFACTURER ABOUT
                                                                        YOUR SERVICE VISIT, WE HOPE WE DESERVE YOUR
                                                                        HIGHEST SCORE. SINCERELY, THE SERVICE TEAM.



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                                                                                       wallanties either express or            GAS, OIL. LUBE                  0.00
                                                                                       implied. including any implied
ACCIDENT, NEGLIGENCE OR MISUSE. RECORDS SUPPORTING THIS                                wallsnty of merchantability or
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                                                                                                                               THIS AMOUNT                    312.42
CUSTOMER #' 703706
                                                                                                                                                11401 Philips Highwoy
                                                                                      *INVOICE*                                             JACKSONVILLE, FLORIDA 32256
RICHARD MCLAUGHLIN                                                                                                                                (904) 322-5100
                                                                                                                                                 www.ostceovw.com
7452 CLIFF COTTAGE DR
JACKSONVILLLE, FL 32244                                                                     PAGE 1                                                     MV - 31619
HOME,904-772-8383 CONT,N/A




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        PLANT MANAGER
        JACKSONVILLE BULK MAIL CENTER



JiiIJ   UNITED STIJTES
        POSTIJL SERVICE


        November 28. 2008




        Richard W. McLaughlin
        7452 Cliff Cottage Drive
        Jacksonville FL 32244-4450

        Dear Mr. McLaughlin:

        This is to acknowledge I have received your request for an appointment concerning
        vandalism of your car.

        This matter has been investigated by the Office of the Inspector General with a finding
        of no vandalism.

        If you still wish to meet with me, please contact my Secretary to set up an
        appointment.


        Sincerely,




        P.O. Box 2000
        JACKSOINIllE. FL 32203-2000
        TEL: 904-783-7176
        FAX: 904-783-7120
        VISIT   us AT WMV.USPS.COM
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